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 4
 5   Attorney for Defendant, IBRAHIM NAGEEB FAKHOURI
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 7
 8                        IN THE UNITED STATES DISTRICT COURT FOR THE
 9                                 EASTERN DISTRICT OF CALIFORNIA
10   UNITED STATES OF AMERICA,                        )        CASE NUMBER: CR-F-02-5288-OWW
                                                      )
11                          Plaintiff,                )
                                                      )        STIPULATION AND ORDER FOR A
12   v.                                               )        RESETTING OF THE HEARING ON
                                                      )        REPORT OF PROBATION OFFICER
13   IBRAHIM NAGEEB FAKHOURI,                         )
                                                      )
14                          Defendant.                )
                                                      )
15
16           IT IS HEREBY STIPULATED by and between plaintiff, the United States of America, and the
17   defendant by and through his attorney, that the date set for the hearing on the presentence report of the
18   probation officer and sentencing be executed as follows, move from Friday, June 16, 2006 at 9:00 a.m.
19   to Monday, July 31, 2006 at 9:00 a.m.
20           The parties also agree that any delay resulting from this continuance shall be excluded in the
21   interest of justice pursuant to 18 U.S.C. sections 3161(h)(1)(F), 3161(h)(8)(A) and 3161(h)(8)(B)(I).
22                                                          Respectfully submitted,
23
24   DATED: June 13, 2006                                   /s/ Salvatore Sciandra
                                                            SALVATORE SCIANDRA
25                                                          Attorney for Defendant,
                                                            IBRAHIM NAGEEB FAKHOURI
26   ///
27   ///
28   ///
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 1   ///
 2   ///
 3   DATED: June 13, 2006                                   /s/ Karen Escobar
                                                            KAREN ESCOBAR
 4                                                          Assistant United States Attorney
 5                                                          Stipulation has been agreed to by Ms. Escobar
                                                            on 6/13/06.
 6   ///
 7   ///
 8                                                  ORDER
 9   IT IS SO ORDERED.
10   Dated: June 14, 2006                               /s/ Oliver W. Wanger
     emm0d6                                        UNITED STATES DISTRICT JUDGE
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     U.S. v. FAKHOURI
     STIPULATION AND ORDER FOR A RESETTING OF THE HEARING ON REPORT OF PROBATION OFFICER
     CASE NUMBER: CR-F-02-5288-REC                                                                      2
